Case 3:16-md-02738-MAS-RLS Document 29024 Filed 02/09/24 Page 1 of 2 PageID: 173433




                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY



                                                                   MDL No. 16-2738 (MAS) (RLS)
     IN RE: JOHNSON & JOHNSON
     TALCUM    POWDER      PRODUCTS
     MARKETING, SALES PRACTICES, AND
     PRODUCTS LIABILITY LITIGATION




                                                 ORDER

             THIS MATTER having been brought before the Court upon a Motion by Defendants

    Johnson & Johnson and LTL Management LLC (collectively, “Defendants”) to Strike Plaintiffs’

    Improper Supplemental Reports or, in the alternative, for an extension of the deadlines set forth in

    the Court’s October 6, 2023 Order (Dkt. No. 28516) (the “Motion”), (see Dkt. Nos. 28798, 28857,

    28901, 28950); and the Court having considered the Motion; and for the reasons set forth in the

    Court’s February 9, 2024 Memorandum Opinion and Order on the Motion and for good cause

    shown,

             IT IS on this 9th day of February 2024, hereby

             ORDERED that the discovery deadlines set forth in the Court’s October 6, 2023 Order

    (Dkt. No. 28516) are hereby amended as follows:

             1. Any depositions of Plaintiffs’ expert witnesses shall be completed on or before April

                9, 2024.

             2. Defendants shall designate all general and case-specific experts pursuant to Rule

                26(a)(2)(A) and serve on Plaintiffs’ counsel the Rule 26(a)(2)(B) reports of all general

                and case-specific expert witnesses they may use at trial in any of the Stage Three cases

                on or before May 21, 2024.

                                                     1
Case 3:16-md-02738-MAS-RLS Document 29024 Filed 02/09/24 Page 2 of 2 PageID: 173434




             3. Any depositions of Defendants’ expert witnesses shall be complete by July 2, 2024.

             4. Dispositive motions, including Daubert motions, shall be filed by July 23, 2024. (The

                Court reserves on the dispute regarding the content of the Daubert motions.)

             5. Oppositions to any dispositive or Daubert motions shall be filed by August 22, 2024.

             6. Replies in further support of any dispositive or Daubert motions shall be filed by

                September 12, 2024; and it is further

             ORDERED that no other terms of the Court’s October 6, 2023 Order are amended by this

    Order.

             SO ORDERED.



                                                         ________________________________
                                                         RUKHSANAH L. SINGH
                                                         UNITED STATES MAGISTRATE JUDGE




                                                    2
